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                                                                           Body Transit, Inc
                                                                           Plan Payments
                                                                       Case#: 20-10014-ELF

                                                                                                  Debtor's       Subchapter V
         Total Available to   First Bank Secured      First Bank Super       Debtor's Attorney   Accountant        Trustees     Post Confirmation   Total Monthly
Month:          Pay                  Claim          Priority Admin Claim         Estimate         Estimate         Estimate       Trustee Fees        Payment

     1           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     2           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     3           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     4           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     5           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     6           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     7           1,500.00                1,153.12                  76.04                 99.73           49.84          49.84              71.43          1,500.00
     8           4,068.83                3,127.56                206.34                 270.61          135.28         135.28             193.75          4,068.83
     9           5,513.65                4,238.07                279.63                 366.72          183.34         183.34             262.55          5,513.65
    10           5,513.64                4,238.06                279.63                 366.72          183.34         183.34             262.55          5,513.64
    11           7,080.51                5,442.38                359.11                 470.95          235.45         235.45             337.17          7,080.51
    12           7,080.72                5,442.54                359.12                 470.97          235.46         235.46             337.18          7,080.72
    13           7,525.67                5,777.22                383.71                 503.22          251.58         251.58             358.37          7,525.67
    14           7,543.57                5,777.22                388.41                 509.38          254.67         254.67             359.22          7,543.57
    15           7,561.46                5,777.22                393.12                 515.55          257.75         257.75             360.07          7,561.46
    16           7,561.46                5,777.22                393.12                 515.55          257.75         257.75             360.07          7,561.46
    17           7,561.46                5,777.22                393.12                 515.55          257.75         257.75             360.07          7,561.46
    18           7,561.46                5,777.22                393.12                 515.55          257.75         257.75             360.07          7,561.46
    19           7,565.55                5,777.22                394.19                 516.96          258.46         258.46             360.26          7,565.55
    20           7,566.37                5,777.22                394.41                 517.25          258.60         258.60             360.30          7,566.37
    21           7,583.40                5,777.22                398.88                 523.12          261.53         261.53             361.11          7,583.40
    22           7,583.40                5,777.22                398.88                 523.12          261.53         261.53             361.11          7,583.40
    23           7,583.40                5,777.22                398.88                 523.12          261.53         261.53             361.11          7,583.40
    24           7,583.40                5,777.22                398.88                 523.12          261.53         261.53             361.11          7,583.40
    25           7,584.57                5,777.22                400.00                 523.12          261.53         261.53             361.17          7,584.57
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                                                                           Body Transit, Inc
                                                                           Plan Payments
                                                                       Case#: 20-10014-ELF

                                                                                                  Debtor's       Subchapter V
         Total Available to   First Bank Secured      First Bank Super       Debtor's Attorney   Accountant        Trustees     Post Confirmation   Total Monthly
Month:          Pay                  Claim          Priority Admin Claim         Estimate         Estimate         Estimate       Trustee Fees        Payment

    26           7,584.57                5,777.22                400.00                 523.12          261.53         261.53             361.17          7,584.57
    27           7,584.57                5,777.22                400.00                 523.12          261.53         261.53             361.17          7,584.57
    28           7,584.57                5,777.22                400.00                 523.12          261.53         261.53             361.17          7,584.57
    29           7,584.57                5,777.22                400.00                 523.12          261.53         261.53             361.17          7,584.57
    30           7,584.57                5,777.22                400.00                 523.12          261.53         261.53             361.17          7,584.57
    31           7,584.85                5,777.22                400.00                 523.25          261.60         261.60             361.18          7,584.85
    32           7,585.98                5,777.22                400.00                 523.79          261.87         261.87             361.24          7,585.98
    33           7,585.98                5,777.22                400.00                 523.79          261.87         261.87             361.24          7,585.98
    34           7,585.98                5,777.22                400.00                 523.79          261.87         261.87             361.24          7,585.98
    35           7,585.98                5,777.22                400.00                 523.79          261.87         261.87             361.24          7,585.98
    36           7,593.36                5,777.22                400.00                 523.79          265.38         265.38             361.59          7,593.36
    37           9,618.11                7,392.60                490.00                 637.50          320.00         320.00             458.01          9,618.11
    38           9,617.34                7,392.60                490.00                 636.77          320.00         320.00             457.97          9,617.34
    39           9,552.97                7,392.60                471.00                 614.47          310.00         310.00             454.90          9,552.97
    40           9,552.97                7,392.60                471.00                 614.47          310.00         310.00             454.90          9,552.97
    41           9,559.11                7,392.60                471.00                 620.31          310.00         310.00             455.20          9,559.11
    42           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    43           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    44           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    45           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    46           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    47           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    48           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    49           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
    50           9,564.03                7,392.60                471.00                 625.00          310.00         310.00             455.43          9,564.03
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                                                                           Body Transit, Inc
                                                                           Plan Payments
                                                                       Case#: 20-10014-ELF

                                                                                                  Debtor's       Subchapter V
         Total Available to   First Bank Secured      First Bank Super       Debtor's Attorney   Accountant        Trustees     Post Confirmation   Total Monthly
Month:          Pay                  Claim          Priority Admin Claim         Estimate         Estimate         Estimate       Trustee Fees        Payment

    51           9,562.98                7,392.60                470.00                 625.00          310.00         310.00             455.38          9,562.98
    52           9,562.98                7,392.60                470.00                 625.00          310.00         310.00             455.38          9,562.98
    53           9,562.98                7,392.60                470.00                 625.00          310.00         310.00             455.38          9,562.98
    54           9,562.98                7,392.60                470.00                 625.00          310.00         310.00             455.38          9,562.98
    55           9,562.98                7,392.60                470.00                 625.00          310.00         310.00             455.38          9,562.98
    56           9,536.73                7,392.60                470.00                 600.00          310.00         310.00             454.13          9,536.73
    57           9,545.45                7,392.60                470.00                 600.00          314.15         314.15             454.55          9,545.45
    58           9,515.73                7,392.60                470.00                 600.00          300.00         300.00             453.13          9,515.73
    59           9,515.73                7,392.60                470.00                 600.00          300.00         300.00             453.13          9,515.73
    60           9,511.95                7,389.78                469.22                 600.00          300.00         300.00             452.95          9,511.95
